

People v Cavener (2016 NY Slip Op 00433)





People v Cavener


2016 NY Slip Op 00433


Decided on January 21, 2016


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 21, 2016

Sweeny, J.P., Renwick, Manzanet-Daniels, Gische, JJ.


16736 2887/12

[*1] The People of the State of New York, Respondent, —
vRicky Cavener, Defendant-Appellant.


Seymour W. James, Jr., The Legal Aid Society, New York (Adrienne M. Gantt of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Luis Morales of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Thomas Farber, J.), rendered March 18, 2014,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
ENTERED: JANUARY 21, 2016
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








